             Case 5:18-cr-00258-EJD Document 897 Filed 08/06/21 Page 1 of 10




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 9 Attorneys for Defendant ELIZABETH A. HOLMES

10

11                               UNITED STATES DISTRICT COURT

12                             NORTHERN DISTRICT OF CALIFORNIA

13                                       SAN JOSE DIVISION

14
     UNITED STATES OF AMERICA,                 )   Case No. CR-18-00258-EJD
15                                             )
            Plaintiff,                         )   MS. HOLMES’ MOTION TO PARTIALLY
16                                             )   REDACT GOVERNMENT AGENCY REPORTS
       v.                                      )
17                                             )
     ELIZABETH HOLMES and                      )   Date: August 20, 2021
18   RAMESH “SUNNY” BALWANI,                   )   Time: 10:00 AM
                                               )   CTRM: 4, 5th Floor
19          Defendants.                        )
                                               )   Hon. Edward J. Davila
20                                             )
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28 MS. HOLMES’ MOTION TO PARTIALLY REDACT GOVERNMENT AGENCY REPORTS
   CR-18-00258 EJD
                                       i
             Case 5:18-cr-00258-EJD Document 897 Filed 08/06/21 Page 2 of 10




 1    MS. HOLMES’ MOTION TO PARTIALLY REDACT GOVERNMENT AGENCY REPORTS

 2         PLEASE TAKE NOTICE that on August 20, 2021 at 10:00 a.m., or on such other date and time

 3 as the Court may order, in Courtroom 4 of the above-captioned Court, 280 South 1st Street, San Jose,

 4 CA 95113, before the Honorable Edward J. Davila, Defendant Elizabeth Homes will and hereby does

 5 respectfully move the Court to partially redact three government agency reports that the government

 6 seeks to introduce at trial. The Motion is based on the below Memorandum of Points and Authorities,

 7 the Declaration of Amy Saharia and accompanying exhibits, the record in this case, and any other

 8 matters that the Court deems appropriate.

 9
     DATED: August 6, 2021.
10

11                                                                    /s/ Amy Mason Saharia
                                                                      KEVIN M. DOWNEY
12                                                                    LANCE A. WADE
                                                                      AMY MASON SAHARIA
13                                                                    KATHERINE TREFZ
                                                                      Attorneys for Elizabeth Holmes
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28 MS. HOLMES’ MOTION TO PARTIALLY REDACT GOVERNMENT AGENCY REPORTS
   CR-18-00258 EJD
                                       ii
             Case 5:18-cr-00258-EJD Document 897 Filed 08/06/21 Page 3 of 10




 1                            MEMORANDUM OF POINTS AND AUTHORITIES

 2          As the Court is aware, the government seeks to introduce at trial three government agency

 3 reports arising out of inspections of Theranos facilities in 2015—two by FDA and another by CMS—as

 4 well as related documentation. Several of the Court’s rulings in its May 22, 2021 Order on the parties’

 5 motions in limine bear on the admissibility of the reports and the observations therein. While Ms.

 6 Holmes moved to exclude all three reports in their entirety, and maintains her objection to their

 7 admission, Ms. Holmes does not seek here to relitigate any issues that the Order resolved. Rather, she

 8 respectfully moves the Court to partially exclude portions of the reports insofar as those portions’

 9 admission would conflict with the Court’s in limine rulings, or insofar as the Court invited further

10 consideration of their admissibility. Ms. Holmes thus proposes limited redactions of portions of the

11 reports that contain one or more of the following categories of evidence: (1) evidence related exclusively

12 to tests not at issue; (2) double-hearsay statements of Theranos employees whose purported agency

13 relationship with Ms. Holmes the government has not yet established; and (3) conclusions that reach

14 beyond factual observations to include a high degree of observer analysis such that they are inadmissible

15 under Rule 803(8)(A)(ii) under the Court’s analysis.

16                                                BACKGROUND

17          A.     The Court’s In Limine Rulings.

18          In its May 22, 2021 Order, the Court issued the following rulings bearing on the admissibility of

19 the government agency reports.

20          FDA. The Court deferred ruling on Ms. Holmes’ Motion To Exclude FDA Inspection Evidence.

21 Order, Dkt. 798 at 16. The Court held that “evidence arising out of the FDA inspection” was relevant,

22 more probative than prejudicial, and not excludable under Rule 404(b). Id. at 11-13. Regarding the two

23 FDA inspection reports—referred to as Form FDA-483s—the Court held they were admissible under

24 Rule 803(8)(A)(ii) because they “consist[] largely of observations” comparable to those made by

25 “government employees such as city building inspectors, medical examiners, and prison case

26 managers.” Id. at 14 (citing cases). The Court further stated: “There are portions of the report that go

27 beyond mere observations and include some level of analysis by FDA inspectors; however, those

28 MS. HOLMES’ MOTION TO PARTIALLY REDACT GOVERNMENT AGENCY REPORTS
   CR-18-00258 EJD
                                       1
             Case 5:18-cr-00258-EJD Document 897 Filed 08/06/21 Page 4 of 10




 1 portions comprise only a minor portion of the report.” Id. Regarding those portions, the Court

 2 expressed that it “is open to continued discussions on this issue should Holmes wish to raise arguments

 3 to certain specific pieces of evidence within the FDA inspection evidence that involve such a high

 4 degree of observer analysis that they might not be admissible under Rule 803(8)(A)(ii).” Id.

 5          CMS. The court denied Ms. Holmes’ Motion To Exclude Evidence of CMS Survey Findings

 6 and granted the government’s corresponding motion to admit the Form CMS-2567. Id. at 20. The Court

 7 held that evidence of the CMS survey findings and sanctions was relevant to “the alleged

 8 misrepresentations about the accuracy and reliability of Theranos’ blood tests” and was more probative than

 9 prejudicial. Id. at 18-20. Regarding admissibility of Form CMS-2567 under the hearsay rules, the Court

10 incorporated its reasoning from its ruling on the FDA Form-483s. See id. at 20. The Court noted the

11 possibility of further discussions “on this matter, should parties wish to specify certain exhibits within

12 this collection of evidence and make new arguments as to why these particular exhibits should still be

13 excluded.” Id. The Court addressed Ms. Holmes’ argument that the Form CMS-2567 contained “out-

14 of-court statements made by Theranos personnel that are inadmissible hearsay within hearsay,” which

15 the government had argued were admissible as “authorized admissions and statements of an agent or

16 employee,” by cross-referencing its ruling on “Government’s MIL No. 8.” Id. at 20 n.6.

17          Government MIL No. 8. As relevant here, the government sought to admit statements of all

18 Theranos employees as statements of Ms. Holmes’ agents under Rule 801(d)(2)(D). Id. at 94. The

19 Court deferred ruling on the motion, holding that it was “premature for the Court to issue a categorial

20 ruling admitting any and all testimony of Theranos agents and employees on matters within the scope of

21 that relationship” because “Theranos employees were not Holmes’s agents; they were Theranos’

22 agents.” Id. at 95. Under the Court’s ruling, statements of Theranos employees are admissible only if

23 the government at trial can establish “the necessary foundation for the evidence it seeks to introduce.”

24 Id. at 97.

25          Tests Not Identified in the Bill of Particulars. Ms. Holmes moved “to preclude the

26 Government from introducing at trial evidence and argument regarding the purported inaccuracy and

27 unreliability of tests not identified in the” bill of particulars. Id. at 78. The government responded that it

28 MS. HOLMES’ MOTION TO PARTIALLY REDACT GOVERNMENT AGENCY REPORTS
   CR-18-00258 EJD
                                       2
                Case 5:18-cr-00258-EJD Document 897 Filed 08/06/21 Page 5 of 10




 1 “has no plans to introduce evidence or argument about tests, other than those disclosed in the indictment,

 2 for the purpose of ‘attacking their accuracy and reliability.’” Id. at 79. The Court’s Order made that

 3 concession the rule: “The Government is precluded from introducing any evidence or argument

 4 regarding the purported inaccuracy and unreliability of tests not identified in the Government’s Bill of

 5 Particulars.” Id. at 80. The Court further provided that the government may introduce such evidence

 6 “for purposes unrelated to [the tests’] inaccuracy and reliability,” but must give the defense advanced

 7 notice of any such evidence. Id.

 8 II.      Government Exhibits.

 9          On June 3, 2021, the government amended its exhibit list to include approximately 1,200

10 additional exhibits. Many new exhibits related to the 2015 CMS and FDA surveys.1 These exhibits

11 included the two Form FDA-483s and the Form CMS-2567, which previously had not been included on

12 the government’s list.2 Those unredacted agency reports are attached hereto as Exhibits 1 (the

13 unredacted Form FDA-483 for the Palo Alto facility), 2 (the unredacted FDA Form-483 for the Newark

14 facility), and 3 (the unredacted Form CMS-2567). For the reasons that follow, should the Court admit

15 these exhibits over Ms. Holmes’ objection, it should admit only the partially redacted versions attached

16 hereto as Exhibits 4 (proposed redacted Form FDA-483 for the Palo Alto facility), 5 (proposed redacted

17 Form-483 for the Newark facility), and 6 (proposed redacted Form CMS-2567).

18                                                  ARGUMENT

19          Without waiving her objections to admission of these reports (and related testimony) in their

20 entirety, Ms. Holmes moves to redact the FDA and CMS reports in order to implement the Court’s

21 rulings discussed above. In particular, the following redactions are warranted under the Court’s rulings.

22          FDA. Ms. Holmes respectfully maintains that, because the Form FDA-483s contain “factual

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             Ms. Holmes intends to object at trial to the admission of these new exhibits as well as the other
24 inspection-related evidence that Ms. Holmes previously moved to exclude. As Ms. Holmes noted in her
   motion to exclude the FDA inspection evidence, many of these exhibits are emails or other inspection-
25 related documents authored by FDA inspectors who are not expected to testify at trial and thus are
   inadmissible hearsay. Ms. Holmes moves now with respect to the three agency reports so that the Court
26 can review the proposed redactions in advance of trial.
           2
             The government had previously included only the Form FDA-483 for the Palo Alto Facility as
27 an attachment to FDA inspector email correspondence.

28 MS. HOLMES’ MOTION TO PARTIALLY REDACT GOVERNMENT AGENCY REPORTS
   CR-18-00258 EJD
                                                         3
                Case 5:18-cr-00258-EJD Document 897 Filed 08/06/21 Page 6 of 10




 1 findings from a legally authorized investigation,” they are inadmissible under Rule 803(8)(A)(iii). The

 2 Court held, however, that the FDA reports might be admissible under Rule 803(8)(A)(ii), while noting

 3 that at least some portions go “beyond mere observations [to] include some level of analysis by FDA

 4 inspectors” such that “they might not be admissible under Rule 803(8)(A)(ii).” Order, Dkt. 798 at 14.

 5          Ms. Holmes has proposed redactions to implement the Court’s Order, consistent with the

 6 approach in the cases the Court cited as presenting analogous hearsay concerns. See id. at 14. In United

 7 States v. Rosa, 11 F.3d 315 (2d Cir. 1993), for example, the Second Circuit held that portions of a

 8 medical autopsy report were admissible under Rule 803(8)(A)(ii) because the medical examiner who

 9 authored it was not “law enforcement” under the rule.3 Id. at 332-33. But the Second Circuit also held

10 that the district court properly had “allowed the government to introduce those portions of the report

11 which contained factual observations” and “excluded so much of the report as contained the author’s

12 diagnosis and his opinions as to the manner and cause of death.” Id. at 331; see also id. at 333 (noting

13 that the Rule “required” the district court to “exclude[] the factual conclusions drawn from those

14 observations”); see also United States v. Edelman, 458 F.3d 791, 814 (8th Cir. 2006) (affirming

15 admission of report under 803(8)(A)(ii) where author was “not a police officer or a member of law

16 enforcement” and where “the memorandum does not contain any opinions, findings, or conclusions; it is

17 a record of events communicated to [the author] and recorded contemporaneously with the events”).

18          The proposed redactions limit the FDA reports to only those portions arguably admissible under

19 the Court’s analysis, redacting only the subjective conclusions of the reports’ authors. As the Court

20 noted, these higher-level conclusions do not comprise a large portion of the reports. They do, however,

21 reflect an agency determination arrived at through application of regulatory standards to factual

22 observations. See, e.g., Ex. 1 at 1 (“Design validation did not ensure the device conforms to defined

23 user needs and intended uses.”). Ms. Holmes proposes to redact that type of high-level subjective

24 conclusion from each factual observation while leaving the subsidiary factual observations undisturbed.

25          In one instance, the FDA report recites hearsay from an unidentified Theranos employee.

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27          3
          Rosa concerned the predecessor provision, then titled Rule 803(8)(B). See 11 F.3d at 333.
28 MS. HOLMES’ MOTION TO PARTIALLY REDACT GOVERNMENT AGENCY REPORTS
   CR-18-00258 EJD
                                                   4
             Case 5:18-cr-00258-EJD Document 897 Filed 08/06/21 Page 7 of 10




 1 Because the Court ruled that the government has not yet met its burden to establish that out-of-court

 2 statements of Theranos’ employees are admissible, that portion of the report must be redacted until and

 3 unless the government has proven that the at-issue Theranos employee qualifies as Ms. Holmes’ agent.

 4 The relevant portion that Ms. Holmes proposes to redact for this reason is marked with an asterisk in the

 5 margin of Exhibit 5.

 6          CMS. As an initial matter, Ms. Holmes notes that the government’s newly proposed trial exhibit

 7 contains not only the Form CMS-2567, but also the cover letter transmitting the report to Theranos. See

 8 Ex. 3. The Court’s ruling admitting the Form CMS-2567 does not extend to this additional, hearsay

 9 document. The government’s arguments for admission were limited to the form itself. See Dkt. 588 at

10 10 (“The Form CMS-2567 is a statement of public office (i.e., CMS) setting out matters observed while

11 under a legal duty to report.”); id. (“For these reasons, the Court should admit CMS’ January 26, 2016

12 Form CMS-2567, Statement of Deficiencies.”). The Court’s Order was correspondingly limited to the

13 Form CMS-2567. See Order, Dkt. 798 at 20 (“The Court GRANTS the Government’s motion to admit

14 the January 26, 2016 Form CMS-2567, Statement of Deficiencies.”).

15          Nor does the rationale for admitting the form extend to the cover letter. The letter, signed by

16 CMS employee Karen Fuller, does not contain any “matter observed while under a legal duty to report”

17 because Karen Fuller did not conduct the survey and thus made no observations. This individual is not

18 on the government’s witness list. Moreover, the cover letter does not purport to recount the many

19 observations in the Form CMS-2567 from the CMS employees who made them, referring to the

20 deficiencies only in summary fashion and with reference to their associated regulatory provisions. See

21 Ex. 3 at 1-4. The cover letter thus is not admissible under the Court’s Order or Rule 803(8)(A)(ii).

22 Should the Court nonetheless admit the letter, Ms. Holmes proposes to redact those portions that go

23 beyond observations to reflect legal conclusions for the same reasons that apply to the FDA documents.

24 Those proposed redactions are included in Exhibit 6.

25          Regarding the Form CMS-2567, Ms. Holmes proposes the following categories of redactions.

26          Category A: Tests Not Identified in the Bill of Particulars. As discussed above, the Court held

27 that the CMS survey findings are relevant to the alleged representations about the accuracy and

28 MS. HOLMES’ MOTION TO PARTIALLY REDACT GOVERNMENT AGENCY REPORTS
   CR-18-00258 EJD
                                       5
              Case 5:18-cr-00258-EJD Document 897 Filed 08/06/21 Page 8 of 10




 1 reliability of Theranos’ test results. Many of the survey findings, however, relate exclusively to tests not

 2 at issue in the case. For example, the first standard-level deficiency relates to a lack of documentation of

 3 an investigation into ungraded proficiency testing in 2014 for a single analyte—alkaline phosphate—not

 4 included in the bill of particulars. See Ex. 3 at 5 (ID Prefix Tag “D2094”). Under the Court’s ruling, the

 5 government “is precluded from introducing any evidence or argument regarding the purported

 6 inaccuracy and unreliability of tests not identified in the Government’s Bill of Particulars.” Order, Dkt.

 7 798 at 80. The report thus must be redacted to exclude irrelevant deficiencies that relate to tests for

 8 which the government has not claimed that Theranos was unable consistently to produce accurate or

 9 reliable results. Portions of the document Ms. Holmes proposes to redact for this reason are marked

10 with the letter A in the margin of Exhibit 6.

11          Category B: Double-Hearsay. The Form CMS-2567 attributes a number of its underlying

12 factual observations to information conveyed orally from laboratory management and staff. The Court

13 indicated that its ruling on the admissibility of these statements hinged on its resolution of the

14 government’s MIL No. 8. Id. at 20 n.6. Because the Court ruled that the government has not yet met its

15 burden to establish that out-of-court statements of Theranos’ employees are admissible, these portions of

16 the report must be redacted until and unless the government has proven that the at-issue Theranos

17 employees qualify as Ms. Holmes’ agents. (Ms. Holmes submits that the government will be unable to

18 make any such showing for the at-issue employees.) Portions of the document Ms. Holmes proposes to

19 redact for this reason are marked with the letter B in the margin of Exhibit 6.

20          Category C: Statements “Beyond Mere Observations.” Like the FDA documents, the Form

21 CMS-2567 contains conclusions that go beyond mere factual observations. In particular, each

22 deficiency lists not only the underlying facts observed, but then applies legal standards to those facts to

23 determine (1) whether a deficiency exists and, if so, (2) what level it rises to (i.e., standard-level or

24 condition-level). These determinations go beyond contemporaneous factual recordation to reflect the

25 later-in-time conclusions of the report’s authors. Ms. Holmes incorporates her arguments regarding

26 similarly high-level determinations in the FDA documents here and submits that proposed redactions are

27 warranted for the same reasons.

28 MS. HOLMES’ MOTION TO PARTIALLY REDACT GOVERNMENT AGENCY REPORTS
   CR-18-00258 EJD
                                       6
             Case 5:18-cr-00258-EJD Document 897 Filed 08/06/21 Page 9 of 10




 1                                              CONCLUSION

 2          For the foregoing reasons, Ms. Holmes respectfully requests that, should the three agency reports

 3 be admitted at trial over Ms. Holmes’ objection, the Court admit only the redacted versions attached as

 4 Exhibits 4-6 to this Motion.

 5

 6             DATED: August 6, 2021

 7                                                      /s/ Amy Mason Saharia
                                                        KEVIN DOWNEY
 8                                                      LANCE WADE
                                                        AMY MASON SAHARIA
 9                                                      KATHERINE TREFZ
                                                        Attorneys for Elizabeth Holmes
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28 MS. HOLMES’ MOTION TO PARTIALLY REDACT GOVERNMENT AGENCY REPORTS
   CR-18-00258 EJD
                                       7
           Case 5:18-cr-00258-EJD Document 897 Filed 08/06/21 Page 10 of 10




 1                                     CERTIFICATE OF SERVICE

 2         I hereby certify that on August 6, 2021, a copy of this filing was delivered via ECF on all

 3 counsel of record.

 4

 5

 6                                                                      /s/ Amy Mason Saharia
                                                                        AMY MASON SAHARIA
 7                                                                      Attorney for Elizabeth Holmes

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     MS. HOLMES’ MOTION TO PARTIALLY REDACT GOVERNMENT AGENCY REPORTS
     CR-18-00258 EJD
